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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    NO. 4:14CR00010-20 JLH

KERRY LEE WOOLFOLK                                                                   DEFENDANT

                                             ORDER

       Court convened for a scheduled change of plea hearing on this date. During the course of

the hearing, the Court was informed that defendant’s true name is Kerry Lee Woolfolk. Therefore,

the Clerk is directed to take the appropriate steps to reflect that defendant’s correct name is Kerry

Lee Woolfolk.

       IT IS SO ORDERED this 25th day of January, 2016.




                                                      _________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
